Case 17-10828-elf       Doc 85    Filed 03/19/18 Entered 06/06/18 14:19:00            Desc Main
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                                               March 19, 2018

Eric Long
1000 Follies Road, Drawer K
Inmate #LY 2843
SCI Dallas
Dallas, PA 18612

               RE:    In re Eric Long
                      Bky. No. 17-10828

Dear Mr. Long,

       1 received your letter dated February 28, 2018 in which you enclosed personal
documentation pertaining to an account you believe you have and concerns regarding Chapter 7
Trustee Dershaw’s accounting. I must remind you that your bankruptcy case has been closed
since December 2017, which means I no longer have jurisdiction over the matter and cannot take
any action in response to your letter. Moreover, as a Bankruptcy Judge, I am prohibited from
providing any legal advice.

       Given the nature of the materials you sent, I am returning them to you with this letter. I
am also refraining from posting your letter on the docket. I can appreciate your desire to seek
guidance over any outstanding questions you may have in connection with your bankruptcy case.
I recommend speaking with an attorney.

       Please refrain from sending future correspondence to me or my Chambers concerning this
matter or your closed bankruptcy case.

                                             Very truly yours,




                                             Eric L. Frank
                                             US. Bankruptcy Judge

Enclosures
